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                      IN THE UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF ARKANSAS
                                WESTERN DIVISION

TERESA BLOODMAN                                                                    PLAINTIFF

v.                               Case No. 4:18-cv-00282-KGB

ARKANSAS SUPREME
COURT COMMITTEE ON
PROFESSIONAL CONDUCT, et al.                                                    DEFENDANTS

                                            ORDER

       Plaintiff Teresa Bloodman, an African American woman licensed to practice law in

Arkansas, has sued the Arkansas Supreme Court Committee on Professional Conduct

(“Committee”) through James Dunham, the current Committee Chair, in his official and individual

capacity; the members of Panel A of the Committee in their official and individual capacities;

Robert Stark Ligon, the Executive Director of the Committee, in his official and individual

capacity; the Justices of the Arkansas Supreme Court in their official and individual capacities;

and Kim Smith, a Special Judge appointed by the Arkansas Supreme Court to hear special matters,

in his official and individual capacity (Dkt. No. 1). Before the Court is defendants’ motion to

dismiss (Dkt. No. 3). Ms. Bloodman filed a motion for extension of time and later responded in

opposition (Dkt. Nos. 5, 8). The Court grants Ms. Bloodman’s motion for extension of time and

has considered the response as timely when evaluating the motion to dismiss (Dkt. No. 5). For the

following reasons, the Court grants the motion to dismiss (Dkt. No. 3).

       I.      Background

       The following facts are taken from Ms. Bloodman’s complaint and the documents attached

to it (Dkt. No. 3). Ms. Bloodman is an African-American person licensed to practice law in 2005

(Id., ¶ 6). The defendant Committee was formed by the Arkansas Supreme Court “for the
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regulation of the professional conduct of attorneys in Arkansas.” (Id., ¶ 7). The Committee’s

Chair, Mr. Dunham, is also a defendant.

       Separate defendant Mr. Ligon is the Executive Director of the Committee (Id., ¶ 8).

Separate defendants Michael Boyd, T. Benton Smith, Tonya Patrick, Lisa Ballard, Karolyn Jones,

Mark Martin, Danyelle Walker, and Tanya Owen are members of “Panel A” of the Committee

(Id., ¶ 10). Chief Justice John Kemp, Justice Robin Wynne, Justice Courtney Hudson Goodson,

Justice Josephine Hart, Justice Shawn Womack, Justice Karen Baker, and Justice Rhonda Wood

are named as defendants (Id., ¶ 9). Separate defendant Kim Smith is a Special Judge appointed by

the Arkansas Supreme Court (Id., ¶ 11).

       The Procedures of the Arkansas Supreme Court Regulating Professional Conduct of

Attorneys at Law (the “Procedures”) regulate “the professional conduct of attorneys at law and

shall apply to complaints filed and formal complaints instituted against attorneys . . . .” Ark. R.

Prof. Cond. § 1(A). Under the Procedures, on March 18, 2016, the Committee met and imposed

an “interim suspension” of Ms. Bloodman’s law license and issued a “Findings and Order”

recommending that Mr. Ligon institute disbarment proceedings (Id., ¶ 28). Ms. Bloodman attaches

a copy of the Findings and Order to her complaint (Dkt. No. 1, at 39, 41). The Findings and Order

states that, on March 18, “Panel A voted unanimously to refer Respondent Bloodman to

disbarment proceedings pursuant to the Procedures, Section 10(E)(4) and Section 13, and directed

the Executive Director to file a Petition for Disbarment if Ms. Bloodman does not timely surrender

her Arkansas law license upon being notified of the Panel’s action.” (Id., at 39). Panel A’s decision

was based upon nine of ten cases brought against Ms. Bloodman (Id.). The Findings and Order

also states that “[a]n order of interim suspension shall issue with the disbarment referral, pursuant

to the Procedures, Section 16(A)(1).” (Id.). The Findings and Order further notes that “[t]he

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Supplemental Affidavit of Respondent filed March 4, 2016, in four cases, along with the response

by the Office of Professional Conduct, was considered.” (Id., at 41). On March 22, 2016, an “Order

of Interim Suspension” was entered, immediately suspending Ms. Bloodman’s law license (Id., at

40).

       Ms. Bloodman alleges that, on March 24, 2016, and again on April 1, 2016, she filed an

affidavit in rebuttal of the evidence and exceptions to the Findings and Order, challenging the

correctness of the Findings and Order, the sufficiency of the evidence, and the alleged denial of

her due process (Id., at 11). Ms. Bloodman further alleges that she filed a motion to set aside the

interim order of suspension and a request for the dissolution of the interim suspension, both of

which were denied on April 8, 2016 (Id.). According to Ms. Bloodman, Mr. Ligon asked the

United States District Court for the Eastern District of Arkansas to impose identical discipline on

Ms. Bloodman (Id.).1

       On May 17, 2016, Ms. Bloodman filed a “petition for a writ of certiorari to lodge the record

and in the alternative petition for writ of mandamus.” Petition for Writ of Certiorari, Bloodman v.

Ligon, CV-16-434 (Ark. May 17, 2016).2 Justice Wood and Justice Wynne recused from this

action and were replaced by special justices. Recusal, Bloodman v. Ligon, CV-16-434 (Ark. May




       1
         Ms. Bloodman misidentifies “Judge Karen Baker” as having issued Show Cause orders
in cases pending in federal court (Dkt. No. 1, ¶¶ 37-38). Those orders were issued by the
undersigned. The procedure for disciplinary enforcement of attorneys admitted to practice before
the United States District Court for the Eastern District of Arkansas is set out in the Appendix to
the Local Rules of the United States District Court for the Eastern and Western Districts of
Arkansas in the Model Federal Rules of Disciplinary Enforcement. The Court does not understand
Ms. Bloodman to be challenging application of the federal rules to her.
       2
          On a motion to dismiss, “[t]he court may consider, in addition to the pleadings, materials
embraced by the pleadings and materials that are part of the public record.” In re K-tel Int’l Inc.
Sec. Litig., 300 F.3d 881, 889 (8th Cir. 2002) (internal quotation marks and citation omitted).
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18, 2016). On September 15, 2016, the Arkansas Supreme Court entered a per curiam order

remanding to the Committee with instructions to enter a new order with an analysis from Tapp v.

Ligon, 428 S.W.3d 492 (Ark. 2013). Per Curiam Order, Bloodman v. Ligon, CV-16-434 (Ark.

Sept. 15, 2016). On September 26, 2016, Ms. Bloodman filed a motion for reconsideration.

Motion for Reconsideration, Bloodman v. Ligon, CV-16-434 (Ark. Sept. 26, 2016). On September

30, 2016, Ms. Bloodman filed a petition for writ of mandamus with the Arkansas Supreme Court.

Petition for Writ of Mandamus, Bloodman v. Ligon, CV-16-434 (Ark. Sept. 30, 2016). On October

4, 2016, a revised Findings and Order from the Committee was filed with the Clerk of the Supreme

Court. Revised Findings and Order on Remand, Bloodman v. Ligon, CV-16-434 (Ark. Oct. 4,

2016). Ms. Bloodman then filed a response to the revised Findings and Order. Petitioner’s

Response to Revised Findings and Order on Remand, Bloodman v. Ligon, CV-16-434 (Ark. Oct.

24, 2016). On October 27, 2016, the Arkansas Supreme Court denied various motions and

petitions filed by Ms. Bloodman, including: (1) her motion for reconsideration; (2) her petition

for writ of mandamus; (3) her petition for writ of certiorari; (4) her expedited motion for stay of

interim suspension; and (5) her petition for writ of certiorari to lodge the record. Formal Orders,

Bloodman v. Ligon, CV-16-434 (Ark. Oct. 27, 2016).

       Ms. Bloodman then filed a motion for reconsideration and petition for rehearing with the

Arkansas Supreme Court. Motion for Reconsideration and Petition for Rehearing, Bloodman v.

Ligon, CV-16-434 (Ark. Nov. 14, 2016). The Arkansas Supreme Court denied both motions.

Formal Orders, Bloodman v. Ligon, CV-16-434 (Ark. Dec. 8, 2016). Following the denials of

those motions, Ms. Bloodman filed a petition for writ of certiorari with the United States Supreme

Court, which was denied. See Bloodman v. Ligon, CV-16-434 (Ark. 2016), petition for cert.

denied, 85 U.S.L.W. 3578 (U.S. June 12, 2017) (No. 16-9036).

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       II.     Standard Of Review

       Defendants move to dismiss the claims against them alleging that Ms. Bloodman’s claims

run afoul of Federal Rules of Civil Procedure 12(b)(1) and 12(b)(6).

       A motion to dismiss under Rule 12(b)(1) challenges the Court’s subject matter jurisdiction

to hear the case. A court has broad authority to decide its own right to hear a case, and it can

consider matters outside of the pleadings when deciding a “factual attack” under Rule 12(b)(1).

Osborn v. United States, 918 F.2d 724, 729 n. 6 (8th Cir.1990); see Ozark Society v. Melcher, 229

F. Supp. 2d 896, 902 (E.D. Ark. 2002) (explaining that a “factual attack” challenges the existence

of subject matter jurisdiction in fact, irrespective of the pleadings). Further, when the defendant

makes a “factual attack,” it is the plaintiff’s burden to establish that jurisdiction exists, and “no

presumptive truthfulness attaches to the plaintiff’s allegations.” Osborn, 918 F.2d at 730 (quoting

Mortensen v. First Fed. Sav. & Loan Ass’n, 549 F.2d 884, 891 (3d Cir. 1977)). In other words,

the non-moving party does not have the benefit of Rule 12(b)(6) safeguards in a factual attack. Id.

at 729 n.6.

       To survive a motion to dismiss under Rule 12(b)(6), “a complaint must contain sufficient

factual matter, accepted as true, to ‘state a claim to relief that is plausible on its face.’” Ashcroft

v. Iqbal, 556 U.S. 662, 678 (2009) (quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007)).

A claim is facially plausible “when the plaintiff pleads factual content that allows the court to draw

the reasonable inference that the defendant is liable for the misconduct alleged.” Id. (citing

Twombly, 550 U.S. at 556). “While a complaint attacked by a [Federal] Rule [of Civil Procedure]

12(b)(6) motion to dismiss does not need detailed factual allegations, a plaintiff’s obligation to

provide the ‘grounds’ of his ‘entitle[ment] to relief’ requires more than labels and conclusions, and

a formulaic recitation of the elements of a cause of action will not do.” Twombly, 550 U.S. at 555

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(alteration in original) (citations omitted). “[T]he complaint must contain facts which state a claim

as a matter of law and must not be conclusory.” Briehl v. General Motors Corp., 172 F.3d 623,

627 (8th Cir. 1999). “When ruling on a motion to dismiss, the district court must accept the

allegations contained in the complaint as true and all reasonable inferences from the complaint

must be drawn in favor of the nonmoving party.” Young v. City of St. Charles, 244 F.3d 623, 627

(8th Cir. 2001). The Court may, however, “consider the pleadings themselves, materials embraced

by the pleadings, exhibits attached to the pleadings, and matters of public record.” Roe v.

Nebraska, 861 F.3d 785, 788 (8th Cir. 2017). A reviewing court “may consider these materials

without converting the defendant’s request to a motion for summary judgment.” Roe, 861 F.3d at

788 (citations and quotation marks omitted); see Lustgraaf v. Behrens, 619 F.3d 867, 885-86 (8th

Cir. 2010) (“[W]hen considering a motion to dismiss . . . , [a court] may take judicial notice (for

the purpose of determining what statements the documents contain and not to prove the truth of

the documents’ contents) of relevant public documents . . . .”) (alterations in original) (emphasis

omitted).

       III.    Discussion

       In her complaint, Ms. Bloodman alleges five claims against defendants: (1) pursuant to 42

U.S.C. § 1983, Ms. Bloodman claims that Section 16 and 17 of the Procedures violated the Fifth

and Fourteenth Amendments of the United States Constitution by denying her procedural due

process; (2) pursuant to 42 U.S.C. § 1983, Ms. Bloodman asserts that defendants violated the Equal

Protection Clause of the Fourteenth Amendment of the United States Constitution by treating her

less favorably due to her race; (3) pursuant to 42 U.S.C. § 1985, Ms. Bloodman asserts that

defendants conspired among themselves to deprive her of her equal protection rights; (4) pursuant

to 42 U.S.C. § 1983, Ms. Bloodman alleges that Section 16 of the Procedures violates the

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Fourteenth Amendment of the United States Constitution; and (5) that the Procedures are

constitutionally infirm because the Arkansas Supreme Court employed Mr. Ligon and appoints the

members of the Committee.

       For relief, Ms. Bloodman seeks the following:          (1) a permanent injunction against

defendants and their agents from “giving effect to the Order of interim suspension . . . which

denies” her the right to practice law in Arkansas; (2) a declaration that Sections 16 and 17 of the

Procedures are unconstitutional; (3) a declaration that the interim suspension order is invalid; (4)

a declaration that the interim suspension order violates the due process clauses of the Fifth and

Fourteenth Amendments of the United States Constitution; (5) a declaration that the interim

suspension order violates the Equal Protection Clause of the Fourteenth Amendment of the United

States Constitution; (6) a permanent injunction against defendants and their agents from enforcing

the interim suspension order and “from acting in concert with them”; (7) a permanent injunction

against defendants and their agents from enforcing Section 16 of the Procedures; (8) a declaration

that the “Procedures and Process [are] unconstitutional”; and (9) a declaration that the “current

practice of [Mr.] Ligon, the Committee and Arkansas Supreme Court are unconstitutional.” (Id.,

at 36-37).

       In their motion to dismiss, defendants argue that sovereign immunity, judicial immunity,

and qualified immunity bar suits against defendants (Dkt. No. 3, at 2). Defendants also argue that

the Court lacks subject-matter jurisdiction over Ms. Bloodman’s claims under the Rooker-Feldman

doctrine (Id.).   Defendants further argue that this Court should abstain from deciding Ms.

Bloodman’s complaint (Id.). Finally, defendants argue that Ms. Bloodman does not have Article

III standing to seek prospective injunctive relief and that her complaint fails to state claims under

the Fifth and Fourteenth Amendments of the United States Constitution and under 42 U.S.C. §

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1985 (Id., at 3). The Court addresses only those arguments necessary to resolve the pending

motion to dismiss in relation to each of Ms. Bloodman’s claims against each defendant in his or

her official and individual capacities.

                A.      Sovereign Immunity

        Ms. Bloodman filed suit against each defendant in his or her official and individual

capacities. “[A] suit against a state official in his or her official capacity is not a suit against the

official but rather is a suit against the official’s office. As such, it is no different from a suit against

the State itself.” Will v. Michigan Dept. of State Police, 491 U.S. 58, 71 (1989) (citation omitted)

(holding that “neither a State nor its officials acting in their official capacities are ‘persons’ under

§ 1983”); Treleven v. Univ. of Minn., 73 F.3d 816, 819 (8th Cir. 1996). Section 1983 claims against

the State of Arkansas and its agencies are barred by the Eleventh Amendment. Murphy v.

Arkansas, 127 F.3d 750, 754 (8th Cir. 1997) (citing Quern v. Jordan, 440 U.S. 332 (1979)).

However, when a state official is sued for injunctive relief, he or she “would be a person under §

1983 because ‘official-capacity actions for prospective relief are not treated as actions against the

state.’” Will, 491 U.S. at 71 n.10 (quoting Kentucky v. Graham, 473 U.S. 159, 167 n.14 (1985));

Ex parte Young, 209 U.S. 123, 159-60 (1908). Suits for declaratory relief avoid Eleventh

Amendment immunity “if the official has some connection to the enforcement of the challenged

laws.” Calzone v. Hawley, 866 F.3d 866, 869 (8th Cir. 2017) (citing Ex parte Young, 209 U.S. at

157).

        Defendants concede that “all named Defendants are, by law, agencies and officials of the

State of Arkansas.” (Dkt. No. 4, at 8). Ms. Bloodman’s complaint only alleges claims for

injunctive and declaratory relief. Accordingly, the individual defendants are subject to suit on

claims for injunctive and declaratory relief in their official capacities. Ex parte Young, 209 U.S.

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at 157. To the extent Ms. Bloodman names the Committee itself as a defendant and to the extent

the Committee itself is a state agency, those claims are barred by sovereign immunity. See Monroe

v. Arkansas State University, 495 F.3d 591, 594 (8th Cir. 2007) (determining that under Ex parte

Young state officials may be sued in their official capacities for prospective injunctive relief

without violating the Eleventh Amendment, but the same doctrine does not extend to states or state

agencies). The Eleventh Amendment does not bar Ms. Bloodman’s claims against the individual

defendants for injunctive and declaratory relief in their official capacities.

               B.      Rooker-Feldman Doctrine

       Defendants further argue that the Court lacks subject-matter jurisdiction over Ms.

Bloodman’s claims under the Rooker-Feldman doctrine (Dkt. No. 4, at 13). The Rooker-Feldman

doctrine provides that federal courts, except for the Supreme Court, cannot directly review state

court decisions. In Exxon Mobil Corporation v. Saudi Basic Industries Corporation, 544 U.S. 280

(2005), the Supreme Court confined the doctrine’s application to the factual setting presented in

the two cases that gave the doctrine its name: when the losing parties in a state court case bring a

federal suit alleging that the state court ruling was unconstitutional. Rooker v. Fid. Trust Co., 263

U.S. 413 (1923); D.C. Court of Appeals v. Feldman, 460 U.S. 462 (1983).

       The Eighth Circuit Court of Appeals considered a case similar to Ms. Bloodman’s case in

Mosby v. Ligon, 418 F.3d 927 (8th Cir. 2005), and affirmed a district court’s decision to dismiss

plaintiff Lori Mosby’s complaint based upon the Rooker-Feldman doctrine. There, as relevant,

Ms. Mosby sought a declaratory judgment that the Arkansas Model Rules of Professional Conduct

were applied to her by the Committee in a discriminatory manner in violation of the United States

Constitution. 418 F.3d at 932. The Eighth Circuit held that “the Committee’s decision to

discipline Mosby is the functional equivalent of a state-court judgment.” Id. (citing Thomas v.

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Kadish, 748 F.2d 276, 281-82 (5th Cir. 1984); Muhammed v. Ark. Supreme Court Comm. on Prof’l

Conduct, 655 F. Supp. 584, 586 (E.D. Ark. 1986)). The Eighth Circuit further determined that the

only reason Ms. Mosby sought the declaration was to overturn the discipline imposed by the

Committee and therefore concluded that portion of Ms. Mosby’s complaint was barred by the

Rooker-Feldman doctrine. Id. The Eighth Circuit also noted that it was irrelevant that Ms. Mosby

did not raise the constitutional issue before the Committee or the Arkansas Supreme Court, as Ms.

Mosby could have done so but did not. Id. The Eighth Circuit concluded that, to the extent Ms.

Mosby sought to overturn the Committee’s decision to discipline her, those claims were barred by

the Rooker-Feldman doctrine. Id.

        This Court concludes that at least a portion of Ms. Bloodman’s complaint is a challenge to

the Committee’s disciplinary action against her, seeks to undo the Committee’s disciplinary action

against her, and, therefore, is barred by the Rooker-Feldman doctrine. This doctrine applies to bar

certain claims, regardless of whether those claims are asserted against defendants in their official

or individual capacities.

        In her first claim, Ms. Bloodman alleges that “Sections 16 and 17 of the Procedures are

facially invalid . . . .” (Dkt. No. 1, at 20). Also in her first claim, she alleges that the “Justices of

the Arkansas Supreme Court[’]s refusal to set aside the invalid O[r]der of interim suspension . . .

is contrary to a constitutional right.” (Id., at 23). For relief on this claim, she seeks (1) a declaration

that Sections 16 and 17 of the Procedures are unconstitutional; (2) an injunction against her interim

suspension order; and (3) a declaration that the interim suspension order is unconstitutional (Id.,

at 36). Except for her request that the Court issue a declaration that Sections 16 and 17 of the

Procedures are unconstitutional, Ms. Bloodman essentially asks in connection with her first claim

that the Court to overturn her interim suspension. Therefore, except to the extent Ms. Bloodman’s

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first claim seeks a declaration that Sections 16 and 17 are facially unconstitutional, the first claim

“seek[s] to undo the Committee’s decision” to impose an interim suspension order, is barred by

the Rooker-Feldman doctrine, and is dismissed with prejudice.

       The Court also concludes that Ms. Bloodman’s second and third claims are barred under

the Rooker-Feldman doctrine. Ms. Bloodman’s second and third claims allege that the Procedures

denied her equal protection under the United States Constitution and that her interim suspension

is the result of a conspiracy between defendants (Dkt. No. 1, at 23-32). As relief on those claims,

Ms. Bloodman seeks an injunction against her interim suspension and a declaration that the interim

suspension order violates the equal protection clause of the United States Constitution (Id., at 36).

The Court concludes that Ms. Bloodman’s second and third claims “seek to undo the Committee’s

decision” in Ms. Bloodman’s case, “for the only practical reason to seek a declaration that the

[interim suspension order] was meted out in violation of the Fourteenth Amendment would be to

set aside the sanction.” Mosby, 418 F.3d at 932. Accordingly, the Court dismisses with prejudice

Ms. Bloodman’s second and third causes of action.

       Finally, the Court also concludes that Ms. Bloodman’s fifth claim is barred under the

Rooker-Feldman doctrine to the extent Ms. Bloodman claims that the disciplinary action against

her was the result of improper contact between Mr. Ligon and Justices of the Arkansas Supreme

Court. In this claim, Ms. Bloodman asserts that “Justice Goodson held ex-parte communication

with defendant Ligon while Attorney Bloodman’s Petition for Writ was pending before the

Arkansas Supreme Court.” (Dkt. No. 1, at 35).           She also asserts that “[t]he procedure is

constitutionally invalid for the aforementioned relationship that exists between the [J]ustices and

defendant Ligon as his superiors.” (Id.). For relief on this claim, Ms. Bloodman seeks a declaration

that “the current practice of [] Ligon, the Committee and Arkansas Supreme Court [is]

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unconstitutional.” (Id., at 37). Construing this request for relief liberally, the Court concludes that

Ms. Bloodman’s fifth claim seeks, in part, to undo the Committee’s decision in Ms. Bloodman’s

disciplinary case. Mosby, 418 F.3d at 932. Accordingly, the Court dismisses with prejudice Ms.

Bloodman’s fifth cause of action to the extent it seeks to undo the Committee’s decision to impose

an interim suspension order against her.

               C.      Claims For Prospective Declaratory Relief

       Ms. Bloodman’s claims that remain, after the Court analyzes and applies the Rooker-

Feldman doctrine, are claims seeking declaratory relief, essentially the claims in which Ms.

Bloodman raises arguments that certain Procedures and practices are facially unconstitutional. The

Eighth Circuit has determined “that the Rooker-Feldman doctrine does not bar the district court

from exercising jurisdiction over general challenges to the constitutionality of a State’s

disciplinary rules and processes.” Mosby, 418 F.3d at 932. In her first claim, Ms. Bloodman seeks

a declaration that Sections 16 and 17 of the Procedures are facially unconstitutional. In her fourth

claim, she seeks a declaration that the Procedures and processes are unconstitutional, and in her

fifth claim, she seeks a declaration that the current practice of Mr. Ligon, the Committee, and the

Arkansas Supreme Court is unconstitutional.

                       1.      Standing

       To maintain these facial constitutional challenges, Ms. Bloodman must demonstrate Article

III standing under the United States Constitution. Mosby, 418 F.3d at 932-33; see also U.S. Const.

art. III, § 2; Lujan v. Defenders of Wildlife, 504 U.S. 555, 559-60 (1992). Cases and controversies

which give rise to Article III standing include only those claims that allege some “injury in fact”

redressable by a favorable judgment. Elk Grove Unified Sch. Dist. v. Newdow, 542 U.S. 1 (2004).

To satisfy this “injury in fact” requirement, a plaintiff seeking prospective relief against future

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conduct of defendants who caused injury in the past must show that she faces “a real and

immediate threat that she would again suffer similar injury in the future.” Mosby, 418 F.3d at 933

(quoting Park v. Forest Serv. of the United States, 205 F.3d 1034, 1037 (8th Cir. 2000) (internal

quotations and brackets omitted)); see O’Shea v. Littleton, 414 U.S. 488, 496 (1974). There are

also certain “prudential limitations” on standing and the exercise of federal-court jurisdiction.

Warth v. Seldin, 422 U.S. 490, 498 (1975). As relevant here and in Mosby, one such limitation is

a rule that parties “generally must assert [their] own legal rights and interests, and cannot rest

[their] claim to relief on the legal rights or interests of third parties.” Mosby, 418 F.3d at 933

(quoting Warth, 422 U.S. at 499).

       Ms. Bloodman, in her complaint, repeatedly cites Section 16, which relates only to the

interim suspension procedure (Dkt. No. 1, ¶¶ 25, 94, 96, 97, 101, 209, 211, 212, 213, and 219).

Section 17, which Ms. Bloodman also cites, relates to sanctions generally. Ms. Bloodman has the

responsibility to allege clearly facts that demonstrate standing. Mosby, 418 F.3d at 933 (citing

Warth, 442 U.S., at 517-18). To the extent Ms. Bloodman’s complaint asserts only a facial

challenge to the Procedures and practices related to interim suspensions without challenging the

Committee’s ruling pertaining to her, the Court determines Ms. Bloodman lacks standing to seek

prospective declaratory relief against future actions of the Committee and Justices for interim

suspension because she does not sufficiently allege a “real and immediate threat of repeated

injury.” O’Shea, 414 U.S. at 496. Instead, Ms. Bloodman complains of past events that occurred

with respect to her. She alleges no facts that suggest a real and immediate threat of repeated injury

with respect to the Procedures and practices related to interim suspension. Ms. Bloodman’s

Article III standing to bring these claims depends on whether and when Ms. Bloodman will face

the threat of a future interim suspension. The Court determines that the “speculative nature of

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making this prediction” leads to the conclusion that “the record does not establish a real or

immediate threat of repeated injury.” Mosby, 418 F.3d at 933-34. Ms. Bloodman lacks standing

to pursue such prospective declaratory relief.

                       2.      Younger Abstention

       This Court acknowledges that, in her fifth claim, Ms. Bloodman asserts that the Procedures

are constitutionally infirm because the Arkansas Supreme Court employed Mr. Ligon and appoints

the members of the Committee. To the extent there is any basis to construe any of Ms. Bloodman’s

claims as a broader challenge to the Procedures overall, not just to the interim suspension

procedure, and to the extent Ms. Bloodman has standing to bring such a broader claim for

prospective declaratory relief, the Court determines that its consideration of such claims is barred

by the principles of abstention set forth in Younger v. Harris, 401 U.S. 37 (1971).

       Defendants argue that the state proceedings concerning Ms. Bloodman are currently

ongoing, as the trial for the underlying disbarment is still pending (Dkt. No. 4, at 19). Defendants

assert that the State of Arkansas has an “important interest in maintaining the integrity of its legal

community and ensuring that its attorneys conform to appropriate standards of professional

conduct.” (Id., at 20). Furthermore, defendants assert that Ms. Bloodman has the opportunity “to

raise any and all constitutional arguments or claims before the Committee itself, and likewise has

the opportunity to fully raise any and all of her constitutional claims on appeal to the Arkansas

Supreme Court.” (Id.). Ms. Bloodman responds that she has “exhaust[ed] all her options prior to

filing a Complaint in federal court” and that the ongoing state proceeding does not give her an

opportunity to raise her constitutional claims (Dkt. No. 9, at 23-26).




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        In Younger v. Harris, 401 U.S. 37 (1971), the Supreme Court held that federal courts

should abstain from interfering in ongoing state-court proceedings. The Court explained the

rationale for such abstention as follows:

        [The concept of federalism] represent[s] . . . a system in which there is sensitivity
        to the legitimate interests of both State and National Governments, and in which
        the National Government, anxious though it may be to vindicate and protect federal
        rights and federal interests, always endeavors to do so in ways that will not unduly
        interfere with the legitimate activities of the States.

Id. at 44.

        Accordingly, a federal court should abstain from hearing constitutional claims when:

(1) there is an ongoing state proceeding; (2) the state proceeding implicates important state

interests; and (3) there is an adequate opportunity in the state proceedings to raise the

constitutional challenges. Id. at 43-45; Tony Alamo Christian Ministries v. Selig, 664 F.3d 1245

(8th Cir. 2012); Plouffe v. Ligon, 606 F.3d 890, 893 (8th Cir. 2010). If these three elements

are satisfied, the court should abstain unless it detects “bad faith, harassment, or some other

extraordinary circumstance that would make abstention inappropriate.”              Middlesex County

Ethics Comm’n v. Garden State Bar Ass’n, 457 U.S. 423, 435 (1982). These exceptions, though,

must be narrowly construed.        Aaron v. Target Corp., 357 F.3d 768, 778 (8th Cir. 2004).

“[I]ntervention by federal courts in ongoing state proceedings requires that the ‘circumstances

must be extraordinary in the sense of creating an extraordinary pressing need for immediate federal

equitable relief . . . .’” Id. at 779 (internal citation and quotation omitted).

        The Court concludes that—to the extent that Ms. Bloodman asserts a broader challenge to

the Procedures overall, that her claims are not barred by the Rooker-Feldman doctrine, and that

she has standing to maintain such claims—abstention is appropriate as to Ms. Bloodman’s

remaining claims. Here, the public record indicates that there is an ongoing state proceeding: Ms.

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Bloodman’s disbarment trial is still pending before Special Judge Kim Smith, a separate defendant

in this action. See Ligon v. Bloodman, D-16-301 (Ark. Dec. 11, 2018). The United States Supreme

Court held that New Jersey considers a state bar disciplinary proceeding to be “judicial in nature”

and that “[t]he State of New Jersey has an extremely important interest in maintaining and assuring

the professional conduct of the attorneys it licenses.” Middlesex Cnty. Ethics Comm., 457 U.S. at

432-33. Courts have concluded that Arkansas attorney discipline and disbarment proceedings are

clearly judicial in nature. Plouffe, 606 F.3d at 892-93; Neal v. Wilson, 920 F. Supp. 976, 988 (E.D.

Ark. 1996). Furthermore, nothing in the Procedures prevents Ms. Bloodman from raising her

constitutional claims in her disbarment proceedings, and in fact she previously filed a petition for

writ of certiorari wherein she raised many of her constitutional claims before the Arkansas

Supreme Court. See Petitioner’s Expedited Motion for Stay of Interim Suspension Pending the

Outcome of the Petition for Writ of Certiorari, at 2, Bloodman v. Ligon, CV-16-434 (Ark. May 23,

2016). Under Section 13(D) of the Procedures, Ms. Bloodman may appeal to the Arkansas

Supreme Court, and the “Arkansas Supreme Court has heard and ruled on constitutional challenges

presented by attorneys during disciplinary hearings.” Neal, 920 F. Supp. at 988 (listing cases

where the Arkansas Supreme Court has heard constitutional arguments during disciplinary

proceedings). Finally, the Court finds no allegation of “bad faith, harassment, or some other

circumstances that would make abstention inappropriate.” Middlesex, 457 U.S. at 435.

       Accordingly, to the extent Ms. Bloodman asserts a broader challenge to the Procedures

overall, that her claims are not barred by the Rooker-Feldman doctrine, and that she has standing

to maintain such claims, the Court concludes that those claims fall squarely into the abstention

doctrine set forth in Younger. Therefore, the Court applies the Younger doctrine and dismisses



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any and all of Ms. Bloodman’s remaining claims. Plouffe, 606 F.3d at 894 (affirming dismissal

of the complaint upon application of the Younger doctrine).

       IV.     Conclusion

       For the reasons discussed above, per the Rooker-Feldman doctrine, the Court dismisses

with prejudice Ms. Bloodman’s first, second, third, and fifth claims for relief to the extent those

claims are as-applied challenges to the Procedures. As to Ms. Bloodman’s remaining claims, the

Court determines Ms. Bloodman lacks standing to maintain these claims and that, even if she has

standing, the Court should abstain from hearing her remaining claims under the Younger abstention

doctrine. For these reasons, the Court grants defendants’ motion to dismiss and dismisses this

action consistent with the terms of this Order (Dkt. No. 3). Ms. Bloodman’s motion for extension

of time is granted (Dkt. No. 5). The Court denies all other pending motions as moot (Dkt. Nos.

41, 43, 44).

       It is so ordered, this the 14th day of March, 2019.




                                                 Kristine G. Baker
                                                 United States District Judge




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